     Case: 23-10994     Document: 105       Page: 1   Date Filed: 01/19/2024




                                  No. 23-10994

          In the United States Court of Appeals
                  for the Fifth Circuit
     Spectrum WT; Barrett Bright; Lauren Stovall,
                           Plaintiffs-Appellants,
                                       v.
 Walter Wendler; Dr. Christopher Thomas; John Sharp;
 Robert L. Albritton; James R. Brooks; Jay Graham; Tim
Leach; Bill Mahomes; Elaine Mendoza; Michael J. Plank;
Cliff Thomas; Demetrius L. Harrell, Jr.; Michael A. Her-
                       nandez, III,
                            Defendants-Appellees.

              On Appeal from the United States District Court
            for the Northern District of Texas, Amarillo Division

JOINT RESPONSE TO APPELLANTS’ OPPOSED MOTION
 FOR LEAVE TO FILE REPLY BRIEF FOR DEFENDANTS-
   APPELLEES WALTER WENDLER, CHRISTOPHER
            THOMAS, AND JOHN SHARP

 Ken Paxton                                 Aaron L. Nielson
 Attorney General of Texas                  Solicitor General
 Brent Webster                              Joseph N. Mazzara
 First Assistant Attorney General           Assistant Solicitor General
 Office of the Attorney General             Joe.Mazzara@oag.texas.gov
 P.O. Box 12548 (MC 059)                    Allison M. Collins
 Austin, Texas 78711-2548                   Assistant Attorney General
 Tel.: (512) 936-1700                       Allison.collins@oag.texas.gov
 Fax: (512) 474-2697                        Counsel for Defendants-Appellees
       Case: 23-10994     Document: 105       Page: 2   Date Filed: 01/19/2024




             Certificate of Interested Persons
                         No. 23-10994
        Spectrum WT; Barrett Bright; Lauren Stovall,
                                Plaintiffs-Appellants,
                                         v.
 Walter Wendler; Dr. Christopher Thomas; John Sharp;
 Robert L. Albritton; James R. Brooks; Jay Graham; Tim
Leach; Bill Mahomes; Elaine Mendoza; Michael J. Plank;
Cliff Thomas; Demetrius L. Harrell, Jr.; Michael A. Her-
                       nandez, III,
                            Defendants-Appellees.

   Under the fourth sentence of Fifth Circuit Rule 28.2.1, defendant-appellee, as a
governmental party, need not furnish a certificate of interested persons.

                                        /s/ Joseph N. Mazzara
                                        Joseph N. Mazzara
                                        Counsel of Record for
                                        Defendant-Appellee Walter Wendler


                                        /s/ Allison M. Collins
                                        Allison M. Collins
                                        Counsel for Defendants-Appellees Thomas and
                                        Sharp
        Case: 23-10994        Document: 105   Page: 3   Date Filed: 01/19/2024




                                 Introduction
    Appellants’ motion should be denied because it seeks an unfair advantage with
no basis in law or precedent. In effect, appellants would have this Court authorize a
doubly long reply brief, which is highly unusual—if not unheard of—even when
timely requested in accordance with the Rules of Appellate Procedure. Yet Defend-
ants did not follow those rules. The Court should deny appellants’ request because
it is unfairly prejudicial, against the interests of justice, and would create perverse

incentives in future cases.

                                    Argument
    Appellants have sought leave to file a supplemental brief. Such leave is not
granted automatically. Thomason v. Guzik, 226 F.3d 642 (5th Cir. 2000) (per curiam)
(unpublished) (denying permission to file a supplemental reply brief). This court
should deny appellants’ motion for at least five reasons. First, appellants do not make
a legal argument in their motion as required by Fed. R. App. P. 27(a)(2)(A). Rule
27(a)(2)(A) states that a motion “must state with particularity the grounds for the
motion, the relief sought, and the legal argument necessary to support it.” (emphasis

added). And Fifth Circuit Rule 27.4 reminds counsel that they “must comply with
the requirements of Fed. R. App. P. 27.” The local rules thus accentuate the need to
provide supporting legal arguments and authorities. Yet appellants failed to muster

a single case or statute to support their position.
    In lieu of legal argument, appellants cite (at 4) the relevant rules of appellate
procedure and appeal (at 6) to vague notions of justice. Such vapid statements do not
          Case: 23-10994   Document: 105       Page: 4   Date Filed: 01/19/2024




suffice. In Vasquez-De Martinez v. Garland, a movant likewise failed to support his
motion with legal argument. 34 F.4th 412 (5th Cir. 2022) (per curiam). In denying
the motion, this Court observed that “nowhere in the two-short pages that Counsel
says ‘support’ his motion does Counsel cite any law on our authority to grant” the
motion, “let alone how to evaluate it.” Id. at 414. Gesturing toward possible grounds

that might allow for relief do not constitute legal arguments for granting a motion,
“let alone how [this Court is] to evaluate it.” Id.
    Appellants’ breezy treatment downplays the extraordinary nature of their re-
quest. Fifth Circuit Rule 27.1.13 grants the clerk (and single judges under Rule
27.2.1) authority to grant a motion “[t]o file reply or supplemental briefs in addition
to the single reply brief permitted by Fed. R. App. P. 28(c) prior to submission to the
court.” (emphasis added). Appellants’ motion for leave is not “prior to submission
to the court” of either their “reply or supplemental brief[]” or their “single reply
brief.” The Rules thus preclude not only the clerk but also a single judge from ruling

on the motion, which strongly indicates that granting such motions is highly disfa-
vored. It also indicates that appellants’ filing is not a typical “procedural motion,”
(see 5th Cir. Rule 27.1), and it emphasizes the need for the sort of fulsome “legal

arguments” contemplated by Fed. R. App. P. 27.
    Second, to the extent appellants were unsure of how to proceed when two appel-
lees’ briefs are filed for different defendants by different counsel, Fifth Circuit Rule

27.1.13 instructs that only a “single reply brief [is] permitted by Fed. R. App. P.
28(c).”



                                           2
       Case: 23-10994      Document: 105       Page: 5   Date Filed: 01/19/2024




    Third, appellants have had a lengthy opportunity from the time President
Wendler’s counsel was granted an extension on November 28 (ECF No. 71)—52
days ago—to move under Rule 27 to file an overlength consolidated reply. Such mo-
tions are far from unheard of, and litigants regularly rely on them when facing multi-
ple opposing parties who each intend to file a principal brief. See Unopposed Motion

for Extension of Time to File Defendant-Appellant’s Opening Brief, Woodlands
Pride, Inc. v. Paxton, No. 23-20480 (5th Cir. Dec. 4, 2023), ECF No. 69 at 2 (seeking
an extension to their principal brief “to align the briefing schedule for all appellants
to the same date for the ease of the parties and the Court”); Unopposed Motion for
Leave to File an Overlength Consolidated Response to the Motions to Stay the Final
Rule, Texas v. EPA, No. 23-60069 (5th Cir. Mar. 17, 2023), ECF No. 59. Leave
should not now be granted given that appellants—who have repeatedly indicated
their desire to expedite this case (ECF No. 12; ECF No. 64 at 1 n.1)—have declined
to act in a timely fashion under the rules, and instead waited until their filing was

rejected to seek leave to file an additional brief. Given their self-imposed dalliance,
there would be nothing unjust about denying their motion for leave.
    Fourth, granting appellants motion for leave would prejudice appellees.

Rule 32(a)(7)(B)(ii) generously allows parties 6,500 words for a reply brief. Appel-
lants sanctioned reply brief (ECF No. 96) was 5,904 words. The unauthorized sup-
plemental brief appellants now seek leave to file is 6,492 words. Combined, appel-

lants’ 82 pages worth of reply and supplemental briefing would exceed the rules’
word limit for replies by 5,896 words—nearly double. Further, combined, appel-
lants’ reply and supplemental brief would be 12,396 words. That is a mere 564 words

                                           3
        Case: 23-10994     Document: 105       Page: 6   Date Filed: 01/19/2024




shorter than their principal brief, or about a page and a half. For all intents and pur-
poses, appellants are seeking to file an extra-length brief, without complying with 5th
Cir. Rule 32.4’s requirement to submit their request ten days prior to the brief’s due
date. Appellants should not be granted a second bite at the apple in an attempt to
shore up their arguments against appellees. Granting appellants leave to file would

be granting them an unfair advantage over appellees and it would be a significant
deviation from the Federal Rules of Appellate Procedure and the Fifth Circuit’s own
very accessible rules.
    Fifth, there is no prejudice to appellants. If this Court’s rules are to have any
binding effect, the self-inflicted consequences that flow from failure to comply with
those rules cannot—standing alone—excuse litigants from following them. What ap-
pellants are asking for is extraordinary special treatment. In effect, they seek double
the word-count allotted to them, an option that would almost certainly be unavailable
under the procedural avenues available to address their situation. While it is far from

unusual for parties to timely ask for—and receive—extra words when responding to
multiple parties submitting multiple briefs, it is highly unusual for a party to receive
twice the ordinary number of words. See e.g., Clerk Order Granting Motion to File

Brief in Excess of Word Count, Dobbin v. Lake, No. 23-50215 (5th Cir. July 7, 2023),
ECF No. 44 (increasing word limit for appellant’s brief from 13,000 to 16,000 words
in case involving multiple appellee briefs); Order, Texas v. EPA, No. 23-60069 (5th

Cir. Mar. 21, 2023) ECF No.76 (granting motion to increase word limit from 5,200
to 9,000 words). This Court should not indulge appellants’ gambit to achieve outside
the rules an advantage it could not get by following them. Both for this case and the

                                           4
        Case: 23-10994       Document: 105       Page: 7   Date Filed: 01/19/2024




next, the Court should avoid creating the perverse incentive structure appellants’
success would create.

                                  Conclusion
    For the foregoing reasons, the Court should deny appellants motion for leave to

file a supplemental brief.


                                        Respectfully submitted,

 Ken Paxton                             Aaron L. Nielson
 Attorney General of Texas              Solicitor General

 Brent Webster                          /s/ Joseph N. Mazzara
 First Assistant Attorney General       Joseph N. Mazzara
                                        Assistant Solicitor General
                                        Joe.Mazzara@oag.texas.gov

 Office of the Attorney General         Counsel for Defendant-Appellee
 P.O. Box 12548 (MC 059)                Walter Wendler
 Austin, Texas 78711-2548
 Tel.: (512) 936-1700
 Fax: (512) 474-2697                    /s/ Allison M. Collins
                                        Allison M. Collins
                                        Assistant Attorney General
                                        Allison.collins@oag.texas.gov

                                        Counsel for Defendants-Appellees
                                        Thomas and Sharp




                                             5
       Case: 23-10994      Document: 105       Page: 8   Date Filed: 01/19/2024




                       Certificate of Service
    On January 19, 2024, this brief was served via CM/ECF on all registered counsel
and transmitted to the Clerk of the Court. Counsel further certifies that: (1) any re-
quired privacy redactions have been made in compliance with Fifth Circuit Rule
25.2.13; (2) the electronic submission is an exact copy of the paper document in com-
pliance with Fifth Circuit Rule 25.2.1; and (3) the document has been scanned with
the most recent version of Symantec Endpoint Protection and is free of viruses.

                                       /s/ Joseph N. Mazzara
                                       Joseph N. Mazzara

                   Certificate of Compliance
    This document complies with: (1) the type-volume limitation of Federal Rule of
Appellate Procedure 27(d)(2)(A) because it contains 1180 words, excluding the parts
of the brief exempted by Rule 32(f); and (2) the typeface requirements of Rule
32(a)(5) and the type style requirements of Rule 32(a)(6) because it has been
prepared in a proportionally spaced typeface (14-point Equity) using Microsoft

Word (the same program used to calculate the word count).

                                       /s/ Joseph N. Mazzara
                                       Joseph N. Mazzara




                                           6
